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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.        CV 18-3623 FMO (JPRx)                                    Date   October 23, 2018
 Title           Carmen John Perri v. Casa Rios Restaurant, et al.



 Present: The Honorable           Fernando M. Olguin, United States District Judge
                Vanessa Figueroa                                         None Present
                   Deputy Clerk                                    Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                    None Present                                          None Present
 Proceedings:            (In Chambers) Order to Show Cause Re: Dismissal Re: Lack of
                         Prosecution

       Absent a showing of good cause, an action must be dismissed without prejudice if the
summons and complaint are not served on a defendant within 90 days after the complaint is filed.
Fed. R. Civ. P. 4(m). Generally, a defendant must answer the complaint within 21 days after
service (60 days if the defendant is the United States). Fed. R. Civ. P. 12(a). The court may
dismiss the action prior to the 90 days, however, if plaintiff(s) has/have not diligently prosecuted
the action.

        In the present case, it appears that one or more of these time periods has not been met.
Accordingly, the court, on its own motion, orders plaintiff(s) to show cause in writing on or before
October 30, 2018, why this action should not be dismissed for lack of prosecution. Pursuant to
Fed. R. Civ. P. 78(b), the court finds that this matter is appropriate for submission without oral
argument. The Order to Show Cause will stand submitted upon the filing of plaintiff’s response,
if plaintiff/defendant files

#        An answer by the following defendant(s):           LEON E. VALDRY

#        Plaintiff’s application for entry of default pursuant to Fed. R. Civ. P. 55(a):
         LEON E. VALDRY

9        Plaintiff’s motion for default judgment pursuant to Fed. R. Civ. P. 55(b):

on or before the date indicated above, the court will consider this a satisfactory response to the
Order to Show Cause. Failure to file a timely response to this Order to Show Cause may result
in the action being dismissed for lack of prosecution and for failure to comply with the orders of
the court, pursuant to Local Rule 41.

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                                                         Initials of Preparer              vdr


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